      Case 1:18-cv-09936-LGS-SLC Document 158 Filed 02/07/20 Page 1 of 3




                               UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF NEW YORK


JANE DOE, LUKE LOE, RICHARD ROE, and
MARY MOE, individually and on behalf of all
others similarly situated,
                                      Plaintiffs,
                    v.                                      No. 18 Civ. 9936
THE TRUMP CORPORATION, DONALD J.
TRUMP, in his personal capacity,
DONALD TRUMP JR., ERIC TRUMP, and
IVANKA TRUMP,
                                    Defendants.

        DECLARATION OF ALEXANDER J. RODNEY IN SUPPORT OF
        PLAINTIFFS’ MOTION TO COMPEL THE MGM ENTITIES TO
  MAKE AVAILABLE TO PLAINTIFFS A LIMITED SUBSET OF VIDEO FOOTAGE

          I, Alexander J. Rodney, pursuant to 28 U.S.C. § 1746, declare as follows:

          1.        I am a member of the Bar of the State of New York, and I am admitted to appear

before this Court. I am associated with the law firm Kaplan Hecker & Fink LLP, counsel for

Plaintiffs Jane Doe, Luke Loe, Richard Roe, and Mary Moe (“Plaintiffs”) in the above-captioned

action.        I respectfully submit this Declaration in support of Plaintiffs’ Motion to Compel

Nonparties Metro-Goldwyn Mayer Studios, Inc. (“MGM”) and JMBP, LLC (“JMBP,” and

collectively, “the MGM Entities”) to make available to Plaintiffs a limited subset of video footage.

Unless stated otherwise, the facts stated herein are of my own personal knowledge, and if called

as a witness I could competently testify thereto.

          2.        Attached hereto as Exhibit A is a true and correct copy of the subpoenas issued by

Plaintiffs pursuant to Rule 45 of the Federal Rules of Civil Procedure to the MGM Entities, dated

September 6, 2019.
      Case 1:18-cv-09936-LGS-SLC Document 158 Filed 02/07/20 Page 2 of 3




       3.     Attached hereto as Exhibit B is a true and correct copy of an email from John C.

Quinn to Jessica Stebbins Bina sent on October 23, 2019.

       4.     Attached hereto as Exhibit C∗ is a true and correct copy of a document produced

by JMBP, bearing the production number JMBP00000004.

       5.     Attached hereto as Exhibit D* is a true and correct copy of a document produced

by JMBP, bearing the production number JMBP00001335.

       6.     Attached hereto as Exhibit E* is a true and correct copy of a document produced

by JMBP, bearing the production number JMBP00003741.

       7.     Attached hereto as Exhibit F* is a true and correct copy of a document produced

by JMBP, bearing the production number JMBP00003781.

       8.     Attached hereto as Exhibit G* is a true and correct copy of a document produced

by JMBP, bearing the production number JMBP00001344.

       9.     Attached hereto as Exhibit H* is a true and correct copy of a document produced

by JMBP, bearing the production number JMBP00000405.

       10.    Attached hereto as Exhibit I* is a true and correct copy of a document produced

by JMBP, bearing the production number JMBP00003782.

       11.    Attached hereto as Exhibit J* is a true and correct copy of a document produced

by JMBP, bearing the production number JMBP00003793.

       12.    Attached hereto as Exhibit K* is a true and correct copy of a document produced

by JMBP, bearing the production number JMBP00002156.




∗ Document has been designated “Confidential” by the MGM Entities pursuant to the Protective

Order entered by the Court (Doc. No. 112) and will be filed in conformity with Rule I.D of this
Court’s Individual Rules and Practices and other applicable rules.


                                               -2-
        Case 1:18-cv-09936-LGS-SLC Document 158 Filed 02/07/20 Page 3 of 3




         13.    Attached hereto as Exhibit L is a true and correct copy of an article by Kavitha

George, published in Bustle, dated February 23, 2019, entitled “Ivanka Trump’s Role on ‘The

Apprentice’       Was      Bigger      Than     You       Might      Remember,”       available   at

https://www.bustle.com/p/ivanka-trumps-role-on-the-apprentice-was-bigger-than-you-might-

remember-13077839.

         14.    Attached hereto as Exhibit M is a true and correct copy of an article by Kate

Feldman, published in Daily News, dated March 19, 2018, entitled “Donald Trump Jr. reportedly

had an affair with Danity Kane alum Aubrey O’Day after Celebrity Apprentice,” available at

https://www.nydailynews.com/entertainment/gossip/donald-trump-jr-reportedly-affair-aubrey-o-

day-article-1.3884708.

         15.    Attached hereto as Exhibit N is a true and correct copy of the Responses and

Objections served by the MGM Entities in response to Plaintiffs’ subpoenas, dated October 25,

2019.

         16.    Attached hereto as Exhibit O is a true and correct copy of a letter from Jessica

Stebbins Bina to The Honorable Lorna G. Schofield, dated January 6, 2020.



         I declare under penalty of perjury that the foregoing is true and correct.


 Dated: February 7, 2020                             /s/ Alexander J. Rodney
        New York, New York                           Alexander J. Rodney




                                                  -3-
